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                 EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, et al.,

                              PLAINTIFFS,

 v.                                          Civil Action No. 3:24-cv-517

 CADE BRUMLEY, et al.,                       Judge: JWD - SDJ

                             DEFENDANTS.


                   DECLARATION OF ASHLEY TOWNSEND

      Pursuant to 28 U.S.C. § 1746, I, Ashley Townsend, duly affirm under penalty

of perjury as follows:

      1.     I am over 18 years of age, have personal knowledge of the matters set

forth herein, and am competent to make this Declaration.

      2.     My name is Ashley Townsend. I serve as the Deputy Chief of Policy for

the Louisiana Department of Education (DOE).

      3.     I understand that the Louisiana Legislature passed into law H.B. 71,

which requires each public school governing authority to display the Ten

Commandments in each classroom because of the prominent role of that text in the

history of American public schools as evidenced by the copies of McGuffey Readers

and the textbooks of Noah Webster, widely used in schools for three centuries.

      4.     I understand that H.B. 71 requires schools to display, alongside the Ten

Commandments, a context statement explaining the history of the Ten

Commandments in American public schools and that H.B. 71 permits the

accompanying display of other prominent historical documents, including but not
                                         1
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limited to the Mayflower Compact, the Declaration of Independence, and the

Northwest Ordinance.

      5.       I understand that H.B. 71 proscribes public school governing authorities

from having to spend their funds to purchase displays, so the authorities can accept

donated funds to purchase displays or accept donated displays.

      6.       I understand that H.B. 71 requires that (a) the State Board of

Elementary and Secondary Education (BESE) adopt rules and regulations that will

govern the proper implementation of the law and (b) the DOE identify appropriate

resources to comply with the law that are free of charge and list those resources on

its website.

      7.       I understand that public school governing authorities must comply with

the law in 149 days from now—by January 1, 2025.

      8.       BESE has not adopted any rules or regulations governing the proper

implementation of H.B. 71.

      9.       The DOE has not taken any steps to identify any free resources to

comply with H.B. 71.

      10.      The DOE has not listed on its website any resources to comply with

H.B. 71.

      11.      I have reviewed some of the pleadings in the above-captioned case, including

Defendants’ Motion to Dismiss and Memorandum of Law In Support of Defendants’

Consolidated Motion to Dismiss, Opposition to Plaintiffs’ Motion for Preliminary

Injunction, and Alternative Motion for Stay Pending Appeal. The illustratives



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                 EXHIBIT A-1
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                    AMERICAN PUBLIC EDUCATION:
                     A HISTORICAL PERSPECTIVE
   The History of the Ten Commandments in
      American Public Education: The Ten
   Commandments were a prominent part of

                                                      The Ten Commandments
  American public education for almost three
   centuries. Around the year 1688, The New
  England Primer became the first published
American textbook and was the equivalent of
a first grade reader. The New England Primer
                                                             I AM the LORD thy God.
                                                      Thou shalt have no other gods
                                                                                                                       Noah      William
                                                                                                                      Webster   McGuffey
  was used in public schools throughout the
United States for more than one hundred fifty
                                                                       before me.
      years to teach Americans to read and            Thou shalt not make to thyself
  contained more than forty questions about                      any graven images.
             the Ten Commandments.                   Thou shalt not take the Name of
 The Ten Commandments were also included
                                                           the Lord thy God in vain.
    in public school textbooks published by
educator William McGuffey, a noted university      Remember the Sabbath day, to keep
   president and professor. A version of his                              it holy.
 famous McGuffey Readers was written in the        Honor thy father and thy mother,
    early 1800s and became one of the most
                                                   that thy days may be long upon the
 popular textbooks in the history of American
   education, selling more than one hundred             land which the Lord thy God
     million copies. Copies of the McGuffey                           giveth thee.
         Readers are still available today.                    Thou shalt not kill.
   The Ten Commandments also appeared in
                                                    Thou shalt not commit adultery.
    textbooks published by Noah Webster in
  which were widely used in American public                   Thou shalt not steal.
        schools along with America’s first          Thou shalt not bear false witness
 comprehensive dictionary that Webster also                   against thy neighbor.
     published. His textbook, The American
                                                           Thou shalt not covet thy
         Spelling Book, contained the Ten
   Commandments and sold more than one
                                                    neighbor's house. Thou shalt not
    hundred million copies for use by public        covet thy neighbor's wife, nor his
school children all across the nation and was       manservant, nor his maidservant,
    still available for use in American public      nor his cattle, nor anything that
              schools in the year 1975.
                                                                  is thy neighbor's.
                                                                                      Case 3:24-cv-00517-JWD-SDJ   Document 39-2   08/05/24 Page 7 of 20




                                                              RELIGION’S ROLE IN
                                                            AMERICAN LEGAL HISTORY

                                                                                           The Ten Commandments

                                                                                                  I AM the LORD thy God.
                                                                                           Thou shalt have no other gods
                                                                                                            before me.
                                                                                           Thou shalt not make to thyself
                                                                                                      any graven images.
                                                                                          Thou shalt not take the Name of
                                                                                                the Lord thy God in vain.
                                                                                        Remember the Sabbath day, to keep
                                                                                                               it holy.
                                                                                        Honor thy father and thy mother,
                                                                                        that thy days may be long upon the
                                                                                             land which the Lord thy God
                                                                                                           giveth thee.
                                                                                                    Thou shalt not kill.
                                                                                         Thou shalt not commit adultery.
                                                                                                   Thou shalt not steal.
    Context for Acknowledging America's Religious History: Some documents
                                                                                         Thou shalt not bear false witness
   stand out as pivotal in the religious history of America and Louisiana's legal
       system, among which are the Mayflower Compact, The Declaration of
                                                                                                   against thy neighbor.                                   The History of the Ten Commandments in American Public Education: The Ten
                                                                                                                                                           Commandments were a prominent part of American public education for almost
                                                                                                                                                             three centuries. Around the year 1688, The New England Primer became the
                                                                                                Thou shalt not covet thy
 Independence as a legal foundation for the United States Constitution, the Ten
                                                                                                                                                               first published American textbook and was the equivalent of a first grade
      Commandments as one of the foundations of our legal system, and the                                                                                    reader. The New England Primer was used in public schools throughout the

                                                                                         neighbor's house. Thou shalt not
   Northwest Ordinance, which was a primary document affirming faith and the                                                                               United States for more than one hundred fifty years to teach Americans to read
  first congressional act legally prohibiting slavery. It is hoped that their study                                                                         and contained more than forty questions about the Ten Commandments. The
  and relation to each other and the history of our state and nation will foster an                                                                         Ten Commandments were also included in public school textbooks published
 appreciation for the role that religion has played in the legal history of America      covet thy neighbor's wife, nor his                                 by educator William McGuffey, a noted university president and professor. A
                                                                                                                                                             version of his famous McGuffey Readers was written in the early 1800s and
    and the state of Louisiana and prompt further public study. American law,
                                                                                         manservant, nor his maidservant,
                                                                                                                                                                  became one of the most popular textbooks in the history of American
   constitutionalism, and political theory have deep roots in religion. American                                                                                education, selling more than one hundred million copies. Copies of the
 ideals about liberty, freedom, equality, legal responsibility and codes of law, to                                                                            McGuffey Readers are still available today. The Ten Commandments also
   mention a few, have roots and underpinnings in religion and biblical literacy.
   The Ten Commandments, which are found in the Book of Exodus in the Old
                                                                                         nor his cattle, nor anything that                                  appeared in textbooks published by Noah Webster in which were widely used
                                                                                                                                                                 in American public schools along with America’s first comprehensive
                                                                                                                                                             dictionary that Webster also published. His textbook, The American Spelling
                                                                                                       is thy neighbor's.
 Testament of the Bible, was one of the earliest written expressions of law to be
                                                                                                                                                              Book, contained the Ten Commandments and sold more than one hundred
incorporated in American legal systems. The Ten Commandments, or the law of                                                                                 million copies for use by public school children all across the nation and was
nature, also impacted the Declaration of Independence which refers to the "laws                                                                                     still available for use in American public schools in the year 1975.
                           of nature and of Nature's God."
                                                                                                     Case 3:24-cv-00517-JWD-SDJ   Document 39-2   08/05/24 Page 8 of 20




                                               hat Are Rules
                                              W             ?
                                                                                     Statements About How
                                                                                      You Should Behave


                                         What Is A Famous Example of Rules?
                                                                                               The Ten Commandments
                                                                                    I AM the LORD thy God,
                                                                           Thou shalt have no other gods before me.
                                                                      Thou shalt not make to thyself any graven images.
                                                                   Thou shalt not take the Name of the Lord thy God in vain.
                                                                          Remember the Sabbath day, to keep it holy.
                                                                     Honor thy father and thy mother, that thy days may be
                                                                    long upon the land which the Lord thy God giveth thee.
                                                                                     Thou shalt not kill.
                                                                               Thou shalt not commit adultery.
                                                                                     Thou shalt not steal.
                                                                   Thou shalt not bear false witness against thy neighbor.
                                                                          Thou shalt not covet thy neighbor’s house.
                                                                       Thou shalt not covet thy neighbor's wife, nor his
                                                                     manservant, nor his maidservant, nor his cattle, nor
                                                                               anything that is thy neighbor’s.




                                                                       What Are Our Class Rules?
                                                                                                  Our Class Rules
                                                                         Be Kind
                                                               Work Hard and Do Your Best
                                                         Listen Carefully and Follow Directions
                                                                 Be Respectful and Polite
                                                          Keep Your Hands and Feet to Yourself
                                                                      Wait Your Turn
                                                        Raise Your Hand Before Asking a Question
                                                                      Arrive on Time
                                                           Treat Classroom Materials with Care


The History of the Ten Commandments in American Public Education: The Ten Commandments were a prominent part of American public education for almost three centuries. Around the year 1688, The New England Primer became the first published American textbook and
  was the equivalent of a first grade reader. The New England Primer was used in public schools throughout the United States for more than one hundred fifty years to teach Americans to read and contained more than forty questions about the Ten Commandments. The Ten
 Commandments were also included in public school textbooks published by educator William McGuffey, a noted university president and professor. A version of his famous McGuffey Readers was written in the early 1800s and became one of the most popular textbooks in
the history of American education, selling more than one hundred million copies. Copies of the McGuffey Readers are still available today. The Ten Commandments also appeared in textbooks published by Noah Webster in which were widely used in American public schools
  along with America’s first comprehensive dictionary that Webster also published. His textbook, The American Spelling Book, contained the Ten Commandments and sold more than one hundred million copies for use by public school children all across the nation and was
                                                                                                       still available for use in American public schools in the year 1975.
                                                                                                                     Case 3:24-cv-00517-JWD-SDJ      Document 39-2   08/05/24 Page 9 of 20




                                                                                            THE SUPREME COURT
                                                                                                    &
                                                                                              THE LAWGIVERS
                                                                              Various lawgivers, including Blackstone, Moses, and Marshall, look over the Supreme Court as
                                                                               it goes about its daily business. They are represented through the west and east wall friezes.



                              william                                                                                                      moses                                                                                             john
                            Blackstone                                                                                                                                                                                                     marshall
                                                                                                                               The Ten Commandments

                                                                                                                                      I AM the LORD thy God.
                                                                                                                      Thou shalt have no other gods before me.
                                                                                                                      Thou shalt not make to thyself any graven
                                                                                                                                                  images.
                                                                                                                                                                                                                                             “It is
                                                                                                                      Thou shalt not take the Name of the Lord
                                                                                                                                            thy God in vain.
                                                                                                                                                                                                                                        emphatically
                                                                                                                      Remember the Sabbath day, to keep it holy.                                                                        the province
                                                                                                                     Honor thy father and thy mother, that thy
                                                                                                                       days may be long upon the land which the                                                                          and duty of
                                                                                                                                   Lord thy God giveth thee.
                                                                                                                                        Thou shalt not kill.                                                                             the judicial
                                                                                                                              Thou shalt not commit adultery.
                                                                                                                                       Thou shalt not steal.                                                                             department
                                                                                                                      Thou shalt not bear false witness against
                                                                                                                                             thy neighbor.                                                                               to say what
                                                                                                                                                                                                                                         the law is.”
                                                                                                                     Thou shalt not covet thy neighbor's house.
                                                                                                                      Thou shalt not covet thy neighbor's wife,
                                                                                                                       nor his manservant, nor his maidservant,
                                                                                                                        nor his cattle, nor anything that is thy
                                                                                                                                               neighbor's.


  The History of the Ten Commandments in American Public Education: The Ten Commandments were a prominent part of American public education for almost three centuries. Around the year 1688, The New England Primer became the first published American textbook and was the equivalent of a first grade
 reader. The New England Primer was used in public schools throughout the United States for more than one hundred fifty years to teach Americans to read and contained more than forty questions about the Ten Commandments. The Ten Commandments were also included in public school textbooks published
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                                                         THE HOUSE OF REPRESENTATIVES
                                                                       &
                                                               THE LAWGIVERS
                         Twenty-three marble relief portraits hanging over the gallery doors of the House Chamber in the U.S. Capitol depict historical figures noted for their work in
                    establishing the principles that underlie American law. Those lawgivers include notable figures like Hammurabi, Solon, and Thomas Jefferson. When the Speaker of the
                       House assumes his position on the dais, he looks directly at yet another lawgiver, Moses. In fact, the Architect of the Capitol emphasizes that the 22 other lawgivers
                                           lining the Chamber walls are oriented “so that all look towards the full-face relief of Moses in the center of the north wall.”



                    moses                                                                                                                                                                                         Speaker
                                                                                                                              The Ten Commandments
                 the lawgiver                                                                                                         I AM the LORD thy God.
                                                                                                                                                                                                                Mike Johnson
                                                                                                                      Thou shalt have no other gods before me.
                                                                                                                     Thou shalt not make to thyself any graven
                                                                                                                                                  images.
                                                                                                                      Thou shalt not take the Name of the Lord
                                                                                                                                           thy God in vain.
                                                                                                                     Remember the Sabbath day, to keep it holy.
                                                                                                                     Honor thy father and thy mother, that thy
                                                                                                                       days may be long upon the land which the
                                                                                                                                   Lord thy God giveth thee.
                                                                                                                                       Thou shalt not kill.
                                                                                                                             Thou shalt not commit adultery.
                                                                                                                                       Thou shalt not steal.
                                                                                                                      Thou shalt not bear false witness against
                                                                                                                                             thy neighbor.
                                                                                                                     Thou shalt not covet thy neighbor's house.
                                                                                                                      Thou shalt not covet thy neighbor's wife,
                                                                                                                       nor his manservant, nor his maidservant,
                                                                                                                        nor his cattle, nor anything that is thy
                                                                                                                                               neighbor's.


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                                                                                                   TEN (DUEL)
                                                                                                 COMMANDMENTS



                                                    THE TEN COMMANDMENTS                                                                                                                  THE TEN DUEL COMMANDMENTS

                           I AM THE LORD THY GOD.
                           THOU SHALT HAVE NO OTHER GODS BEFORE ME.                                                                                                         1. DEMAND SATISFACTION
                           THOU SHALT NOT MAKE TO THYSELF ANY GRAVEN IMAGES.                                                                                                2. GRAB A FRIEND, THAT’S YOUR SECOND
                           THOU SHALT NOT TAKE THE NAME OF THE LORD THY GOD IN VAIN.
                           REMEMBER THE SABBATH DAY, TO KEEP IT HOLY.
                                                                                                                                                                            3. NEGOTIATE A PEACE OR TIME AND PLACE
                           HONOR THY FATHER AND THY MOTHER, THAT THY DAYS MAY BE                                                                                            4. GET SOME PISTOLS AND A DOCTOR
                           LONG UPON THE LAND WHICH THE LORD THY GOD GIVETH THEE.                                                                                           5. DUEL BEFORE THE SUN IS IN THE SKY; PICK
                           THOU SHALT NOT KILL.
                           THOU SHALT NOT COMMIT ADULTERY.
                                                                                                                                                                                 A PLACE WHERE IT’S HIGH AND DRY
                           THOU SHALT NOT STEAL.                                                                                                                            6. LEAVE A NOTE FOR YOUR NEXT OF KIN
                           THOU SHALT NOT BEAR FALSE WITNESS AGAINST THY NEIGHBOR.
                                                                                                                                                                            7. CONFESS YOUR SINS
                           THOU SHALT NOT COVET THY NEIGHBOR'S HOUSE. THOU SHALT
                           NOT COVET THY NEIGHBOR'S WIFE, NOR HIS MANSERVANT, NOR                                                                                           8. LAST CHANCE TO NEGOTIATE
                           HIS MAIDSERVANT, NOR HIS CATTLE, NOR ANYTHING THAT IS THY                                                                                        9. LOOK THEM IN THE EYE; AIM NO HIGHER
                           NEIGHBOR'S.
                                                                                                                                                                          10. COUNT 1, 2, 3, 4, 5, 6, 7, 8, 9, 10 PACES. FIRE!


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                                                                                                                    Case 3:24-cv-00517-JWD-SDJ      Document 39-2    08/05/24 Page 12 of 20




                                                                                                                   “Since the beginning of time,
                                                                                                                     the world has known four
                                                                                                                      great documents, great
                                                                                                                   because of all the benefits to
                                                                                                                   humanity which came about as
                                                                                                                   a result of their fine ideals
                                                                                                                         and principles.”
                                                                                                                                            -RUTH BADER GINSBURG
                                                                                             The Ten Commandments

                                                                                                  I AM the LORD thy God.
                                                                                      Thou shalt have no other gods before me.
                                                                                      Thou shalt not make to thyself any graven
                                                                                                            images.
                                                                                    Thou shalt not take the Name of the Lord thy
                                                                                                         God in vain.
                                                                                      Remember the Sabbath day, to keep it holy.
                                                                                     Honor thy father and thy mother, that thy
                                                                                       days may be long upon the land which the
                                                                                                Lord thy God giveth thee.
                                                                                                   Thou shalt not kill.
                                                                                            Thou shalt not commit adultery.
                                                                                                   Thou shalt not steal.
                                                                                    Thou shalt not bear false witness against thy
                                                                                                          neighbor.
                                                                                      Thou shalt not covet thy neighbor's house.
                                                                                    Thou shalt not covet thy neighbor's wife, nor
                                                                                     his manservant, nor his maidservant, nor his
                                                                                     cattle, nor anything that is thy neighbor's.



                 1689 English Bill of Rights                                              Ten Commandments                                            Declaration of Independence                                                      Magna Carta

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                                                                              MLK & MOSES
                                                                                                  LIKE MOSES HANDED DOWN THE LAW,
                                                                                                   MARTIN LUTHER KING JR. REQUIRED
                                                                                                BIRMINGHAM CAMPAIGN VOLUNTEERS TO
                                                                                               SIGN A COMMITMENT CARD CONSISTING OF
                                                                                                        TEN COMMANDMENTS.

                           TEN COMMANDMENTS FOR NON-VIOLENCE
                                                                                                                                                                                                       THE TEN COMMANDMENTS

            MEDITATE DAILY ON THE TEACHINGS AND LIFE OF JESUS.                                                                                                                             I AM THE LORD THY GOD.
            REMEMBER ALWAYS THAT THE NON-VIOLENT MOVEMENT                                                                                                                       THOU SHALT HAVE NO OTHER GODS BEFORE ME.
              SEEKS JUSTICE AND RECONCILIATION - NOT VICTORY.                                                                                                                   THOU SHALT NOT MAKE TO THYSELF ANY GRAVEN
              WALK AND TALK IN THE MANNER OF LOVE, FOR GOD IS                                                                                                                                      IMAGES.
                                    LOVE.                                                                                                                                     THOU SHALT NOT TAKE THE NAME OF THE LORD THY
            PRAY DAILY TO BE USED BY GOD IN ORDER THAT ALL MEN                                                                                                                                   GOD IN VAIN.
                                MIGHT BE FREE.                                                                                                                                  REMEMBER THE SABBATH DAY, TO KEEP IT HOLY.
             SACRIFICE PERSONAL WISHES IN ORDER THAT ALL MEN                                                                                                                   HONOR THY FATHER AND THY MOTHER, THAT THY
                                MIGHT BE FREE.                                                                                                                                   DAYS MAY BE LONG UPON THE LAND WHICH THE
              OBSERVE WITH BOTH FRIEND AND FOE THE ORDINARY                                                                                                                             LORD THY GOD GIVETH THEE.
                             RULES OF COURTESY.                                                                                                                                              THOU SHALT NOT KILL.
             SEEK TO PERFORM REGULAR SERVICE FOR OTHERS AND                                                                                                                          THOU SHALT NOT COMMIT ADULTERY.
                               FOR THE WORLD.                                                                                                                                               THOU SHALT NOT STEAL.
               REFRAIN FROM THE VIOLENCE OF FIST, TONGUE, OR                                                                                                                  THOU SHALT NOT BEAR FALSE WITNESS AGAINST THY
                                   HEART.                                                                                                                                                         NEIGHBOR.
             STRIVE TO BE IN GOOD SPIRITUAL AND BODILY HEALTH.                                                                                                                 THOU SHALT NOT COVET THY NEIGHBOR'S HOUSE.
              FOLLOW THE DIRECTIONS OF THE MOVEMENT AND OF                                                                                                                    THOU SHALT NOT COVET THY NEIGHBOR'S WIFE, NOR
                     THE CAPTAIN ON A DEMONSTRATION.                                                                                                                           HIS MANSERVANT, NOR HIS MAIDSERVANT, NOR HIS
                                                                                                                                                                               CATTLE, NOR ANYTHING THAT IS THY NEIGHBOR'S.
  The History of the Ten Commandments in American Public Education: The Ten Commandments were a prominent part of American public education for almost three centuries. Around the year 1688, The New England Primer became the first published American textbook and was the equivalent of a first grade
 reader. The New England Primer was used in public schools throughout the United States for more than one hundred fifty years to teach Americans to read and contained more than forty questions about the Ten Commandments. The Ten Commandments were also included in public school textbooks published
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                                                          Commandments and sold more than one hundred million copies for use by public school children all across the nation and was still available for use in American public schools in the year 1975.
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                                                                                                          MARSHALL
                                                                                                             &
                                                                                                           MOSES
                                                                                                                                                                                                                       THE TEN COMMANDMENTS

                            “OUR CONSTITUTION IS                                                                                                                                                                  I AM THE LORD THY GOD.
                          THE ENVY OF THE WORLD,                                                                                                                                                         THOU SHALT HAVE NO OTHER GODS BEFORE
                                                                                                                                                                                                                            ME.
                          AS IT SHOULD BE FOR IT IS                                                                             “Mr. Marshall                                                              THOU SHALT NOT MAKE TO THYSELF ANY
                                                                                                                                                                                                                      GRAVEN IMAGES.
                            THE GRAND DESIGN OF                                                                                brandished the                                                             THOU SHALT NOT TAKE THE NAME OF THE
                            THE FINEST NATION ON                                                                                united states
                                                                                                                                                                                                                   LORD THY GOD IN VAIN.
                                                                                                                                                                                                          REMEMBER THE SABBATH DAY, TO KEEP IT
                                   EARTH.”                                                                                    constitution the                                                                             HOLY.
                                                                                                                                                                                                        HONOR THY FATHER AND THY MOTHER, THAT
                           - THURGOOD MARSHALL                                                                                    way Moses                                                            THY DAYS MAY BE LONG UPON THE LAND WHICH
                                                                                                                                 brandished                                                                   THE LORD THY GOD GIVETH THEE.
                                                                                                                                                                                                                    THOU SHALT NOT KILL.
                                                                                                                                   the ten                                                                  THOU SHALT NOT COMMIT ADULTERY.
                                                                                                                                                                                                                   THOU SHALT NOT STEAL.
                                                                                                                              commandments.”                                                                THOU SHALT NOT BEAR FALSE WITNESS
                               “MR. CIVIL RIGHTS,”                                                                            - New York Times                                                                    AGAINST THY NEIGHBOR.
                             SOLICITOR GENERAL OF                                                                                                                                                         THOU SHALT NOT COVET THY NEIGHBOR'S
                                                                                                                                                                                                             HOUSE. THOU SHALT NOT COVET THY
                              THE UNITED STATES,                                                                                                                                                        NEIGHBOR'S WIFE, NOR HIS MANSERVANT, NOR
                                                                                                                                                                                                          HIS MAIDSERVANT, NOR HIS CATTLE, NOR
                            SUPREME COURT JUSTICE                                                                                                                                                            ANYTHING THAT IS THY NEIGHBOR'S.



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                                                                                      TABLET HUMOR
                                                                                                                        That was the
                                                                                                                         original                                                                 The Ten Commandments
                                                                                                                          tablet.
                     What’s                                                                                                                                                                               I AM the LORD thy God.
                                                                                                                                                                                    Thou shalt have no other gods before me.
                                                                                                                                                                                    Thou shalt not make to thyself any graven

                     that?                                                                                                                                                                                                  images.
                                                                                                                                                                                     Thou shalt not take the Name of the Lord
                                                                                                                                                                                                                  thy God in vain.
                                                                                                                                                                                    Remember the Sabbath day, to keep it holy.
                                                                                                                                                                                   Honor thy father and thy mother, that thy
                                                                                                                                                                                     days may be long upon the land which the
                                                                                                                                                                                                      Lord thy God giveth thee.
                                                                                                                                                                                                             Thou shalt not kill.
                                                                                                                                                                                               Thou shalt not commit adultery.
                                                                                                                                                                                                           Thou shalt not steal.
                                                                                                                                                                                     Thou shalt not bear false witness against
                                                                                                                                                                                                                    thy neighbor.
                                                                                                                                                                                   Thou shalt not covet thy neighbor's house.
                                                                                                                                                                                     Thou shalt not covet thy neighbor's wife,
                                                                                                                                                                                      nor his manservant, nor his maidservant,
                                                                                                                                                                                       nor his cattle, nor anything that is thy
                                                                                                                                                                                                                       neighbor's.


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                                       EVEN IMPORTANT MEN STUTTER

                                                                                                                                 Stuttering
                                               The Ten Commandments

                                                         I AM the LORD thy God.
                                                                                                                                 Strategies                                                            King George VI
                                                  Thou shalt have no other gods
                                                                   before me.
                                                                                                                                   1. Slow rate                                                          of Britain
                                                 Thou shalt not make to thyself
                                                             any graven images.                                                    2.   Full                                                              struggled
                                                Thou shalt not take the Name of
                                                       the Lord thy God in vain.                                                       breath                                                           with a speech
                                               Remember the Sabbath day, to keep
                                                                     it holy.                                                      3. Stretch                                                           impediment.
                                               Honor thy father and thy mother,
                                                  that thy days may be long upon
                                                the land which the Lord thy God
                                                                                                                                       speech                                                             He rose to
                                                                 giveth thee.
                                                           Thou shalt not kill.
                                                                                                                                   4. Pausing                                                           lead Britain
                                                Thou shalt not commit adultery.
                                                          Thou shalt not steal.                                                          and                                                               when it
                                               Thou shalt not bear false witness
                                                         against thy neighbor.                                                        chunking
                                                      Thou shalt not covet thy                                                                                                                          counted most
                                                             neighbor's house.                                                     5. Light
                                                      Thou shalt not covet thy                                                                                                                           despite his
                                                        neighbor's wife, nor his                                                      contacts
                                                manservant, nor his maidservant,
                                                nor his cattle, nor anything that
                                                                                                                                                                                                          stutter.
                                                             is thy neighbor's.



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                                           LEGAL NON-PROFITS IN ACTION
                                                                                    Nonprofit organizations are often some of the most
                                                                                  powerful legal forces involved in cutting-edge legislation
                                                                                  and litigation across the country, including high-profile
                                                                                                  First Amendment issues.


                           AMERICAN CIVIL                                                                                                                                                                            FIRST LIBERTY
                           LIBERTIES UNION                                                                                                                                                                        “First Liberty Institute
                           “The ACLU today is                                                                                                                                                                       is the largest legal
                           the nation’s largest                                                                                                                                                                     organization in the
                           public interest law                                                                                                                                                                       nation dedicated
                          firm, with a 50-state                                                                                                                                                                        exclusively to
                           network of staffed,                                                                                                                                                                     defending religious
                          autonomous affiliate                                                                                                                                                                         liberty for all
                                offices.”                                                                                                                                                                               Americans.”




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                                                                                               MEMES AND LAW



                                                                                                                           THE TEN COMMANDMENTS

                                                                                                                         I AM THE LORD THY GOD.
                                                                                                              THOU SHALT HAVE NO OTHER GODS BEFORE ME.
                                                                                                              THOU SHALT NOT MAKE TO THYSELF ANY GRAVEN
                                                                                                                                 IMAGES.
                                                                                                               THOU SHALT NOT TAKE THE NAME OF THE LORD
                                                                                                                             THY GOD IN VAIN.
                                                                                                              REMEMBER THE SABBATH DAY, TO KEEP IT HOLY.
                                                                                                              HONOR THY FATHER AND THY MOTHER, THAT THY
                                                                                                               DAYS MAY BE LONG UPON THE LAND WHICH THE
                                                                                                                       LORD THY GOD GIVETH THEE.
                                                                                                                           THOU SHALT NOT KILL.
                                                                                                                   THOU SHALT NOT COMMIT ADULTERY.
                                                                                                                         THOU SHALT NOT STEAL.
                                                                                                              THOU SHALT NOT BEAR FALSE WITNESS AGAINST
                                                                                                                              THY NEIGHBOR.
                                                                                                              THOU SHALT NOT COVET THY NEIGHBOR'S HOUSE.
                                                                                                               THOU SHALT NOT COVET THY NEIGHBOR'S WIFE,
                                                                                                               NOR HIS MANSERVANT, NOR HIS MAIDSERVANT,
                                                                                                                NOR HIS CATTLE, NOR ANYTHING THAT IS THY
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                            IMPORTANT SUPREME COURT CASES
                                                                                          Van Orden v. Perry
                                                                                                                   THIS CASE ASKED WHETHER THE
                                                                                                                   ESTABLISHMENT CLAUSE OF THE
                                                                                                                   FIRST AMENDMENT ALLOWS THE
                                                                                                                      DISPLAY OF A MONUMENT
           THE SUPREME COURT FOUND NO ESTABLISHMENT
                                                                                                                       INSCRIBED WITH THE TEN
          CLAUSE VIOLATION, WITH THE PLURALITY OPINION
                                                                                                                   COMMANDMENTS ON THE TEXAS
          EMPHASIZING THAT “ACKNOWLEDGEMENTS OF THE
         ROLE PLAYED BY THE TEN COMMANDMENTS IN OUR                                                                   STATE CAPITOL GROUNDS.
            NATION’S HISTORY ARE COMMON THROUGHOUT
         AMERICA.” THE COURT NOTED THAT MOSES AND THE
          COMMANDMENTS APPEAR IN THE SUPREME COURT
             COURTROOM ITSELF, THE GATES LINING THE
           COURTROOM, AND THE DOORS LEADING INTO THE
                           COURTROOM.



                                                                                        THE MAIN DISSENT JOINED BY JUSTICE GINSBURG
                                                                                        AND TWO OTHER JUSTICES DISAGREED WITH THE
                                                                                        COURT’S JUDGEMENT, BUT ACKNOWLEDGED THAT
                                                                                              “A DISPLAY OF THE COMMANDMENTS
                                                                                         ACCOMPANIED BY AN EXPOSITION OF HOW THEY
          NOTE: THIS IS THE VERSION OF THE TEN                                            HAVE INFLUENCED MODERN LAW WOULD MOST
       COMMANDMENTS UPHELD IN VAN ORDEN, BUT
           DIFFERENT FAITH TRADITIONS ADOPT                                                       LIKELY BE CONSTITUTIONALLY
        DIFFERENT VERSIONS OF THE TEXT OF THE                                                UNOBJECTIONABLE.” THE DISSENT ALSO
         TEN COMMANDMENTS. FOR EXAMPLE, THE
        CATHOLIC VERSION GENERALLY DOES NOT                                              RECOGNIZED THAT THE COMMANDMENTS COULD
          REFERENCE “GRAVEN IMAGES.” AND THE                                               “BE INTEGRATED CONSTITUTIONALLY INTO A
         TORAH USES THE PHRASE “I AM THE LORD
        YOUR GOD WHO BROUGHT YOU OUT OF THE                                                  COURSE OF STUDY IN PUBLIC SCHOOLS.”
          LAND OF EGYPT, OUT OF THE HOUSE OF
                        BONDAGE.”


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                                     HOW DOES THE SUPREME COURT
                                     VIEW THE TEN COMMANDMENTS?
                                                           FOR BELIEVING JEWS AND CHRISTIANS, THE TEN COMMANDMENTS
                                                             ARE THE WORD OF GOD HANDED DOWN TO MOSES ON MOUNT
                                                             SINAI, BUT THE IMAGE OF THE TEN COMMANDMENTS HAS ALSO
                                                           BEEN USED TO CONVEY OTHER MEANINGS. THEY HAVE HISTORICAL
                                                              SIGNIFICANCE AS ONE OF THE FOUNDATIONS OF OUR LEGAL
                                                           SYSTEM, AND FOR LARGELY THAT REASON, THEY ARE DEPICTED IN
                                                                THE MARBLE FRIEZE IN OUR COURTROOM AND IN OTHER
                                                               PROMINENT PUBLIC BUILDINGS IN OUR NATION’S CAPITAL.



                                                        American Legion v. American Humanist Association

                THIS COURT HAS SUBSCRIBED TO
                    THE VIEW THAT THE TEN
               COMMANDMENTS INFLUENCED THE
               DEVELOPMENT OF WESTERN LEGAL
                          THOUGHT.

                  Van Orden v. Perry dissent                                                      A DISPLAY OF THE COMMANDMENTS ACCOMPANIED
                                                                                                  BY AN EXPOSITION OF HOW THEY HAVE INFLUENCED
                                                                                                        MODERN LAW WOULD MOST LIKELY BE
                                                                                                   CONSTITUTIONALLY UNOBJECTIONABLE. AND THE
                                                                                                               DECALOGUE COULD …
                                                                                                  BE INTEGRATED CONSTITUTIONALLY INTO A COURSE
                                                                                                           OF STUDY IN PUBLIC SCHOOLS.


                                                                                                                Van Orden v. Perry dissent

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